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· · · · · · · ·IN THE UNITED STATES DISTRICT COURT

· · · · · · · · · ·FOR THE DISTRICT OF COLORADO

· · · · · · · · · · · CIVIL ACTION DIVISION

· · · · · · · · · · CASE NO.: 1:21-CV-3417-NYW

·

· · ·HOLLY KLUTH,

· · · · · · · ·Plaintiff,

· · ·vs.

· · ·TONY SPURLOCK, individually and
· · ·in his official capacity as Douglas
· · ·County Sheriff,

· · · · · · · ·Defendant.
· · ·______________________________________/
·

· · · · · · · · · ·DEPOSITION OF TONY SPURLOCK

·

·

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· · · · · DATE TAKEN:· · August 31, 2022

· · · · · TIME:· · · · · 9:06 a.m. to 6:07 p.m.
· · · · · · · · · · · · ·MOUNTAIN TIME
·

· · · · · LOCATION:· · · RATHOD MOHAMEDBAHAI, LLC
· · · · · · · · · · · · ·2701 Lawrence Street, Suite 100
· · · · · · · · · · · · ·Denver, Colorado 80205

·

·
· · ·Reported By:
· · ·Jessica Wharton, Reporter

·


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·1· ·employee evaluations?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·Part of being a supervisor is documenting

·4· ·employee performance issues, right?

·5· · · · A.· ·It's one part, yes.

·6· · · · Q.· ·That includes both positive and negative

·7· ·performance issues?

·8· · · · A.· ·Yes.

·9· · · · Q.· ·And for this -- for policy noteworthy

10· ·negative or positive performance issues are supposed

11· ·to be documented in Guardian Tracker; is that right?

12· · · · A.· ·No.· I mean, they could be -- supervisor

13· ·could document and keep their own file.· It's not

14· ·something we encourage.· So you -- it's best to upload

15· ·everything in Guardian Tracker, but I don't think it

16· ·dictates the mandate of that, like, you shall do this.

17· · · · Q.· ·So it doesn't always happen that the

18· ·supervisor will upload its -- his or her --

19· · · · A.· ·Supervisor documents?

20· · · · Q.· ·Yeah.

21· · · · A.· ·That's correct.

22· · · · Q.· ·If a supervisor maintains their own file for

23· ·an employee, where would that information be?

24· · · · A.· ·Ultimately, it would end up in the

25· ·evaluation, which would ultimately end up here, but it


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·1· · · · Q.· ·Okay.· Did she publicly support your

·2· ·retention in office?

·3· · · · A.· ·I believe so, yes.

·4· · · · Q.· ·So she put aside, essentially, her personal

·5· ·differences with -- or her personal political

·6· ·differences to publicly support your position; is that

·7· ·fair?

·8· · · · A.· ·That's fair.

·9· · · · Q.· ·Now, you discussed your intent to endorse

10· ·Ms. Neal-Graves with Ms. Kluth prior to your

11· ·endorsement, right?

12· · · · A.· ·Yes.

13· · · · Q.· ·What was her reaction when you informed her

14· ·of your plan?

15· · · · A.· ·I have to reflect.· I remember having a

16· ·conversation in her office.· I think she was cautious

17· ·with the support of it because I -- she -- she did and

18· ·I knew and I supported intentions to run for Sheriff,

19· ·and Douglas County Sheriff's Office has a tendency to

20· ·have pretty, kind of strict rules about Republicans

21· ·and you know, those kinds of things.· So I think she

22· ·was concerned about her future for that.

23· · · · · · ·But I -- I -- I made it very clear that I

24· ·would not nor could I, you know, by any stretch of the

25· ·means, support him.· And I wanted her just to be aware


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·1· ·of that.· So as my undersheriff, just this is what I'm

·2· ·going to be doing, so don't get shocked when I go do

·3· ·something, when I go say something.· So it would be

·4· ·fair for her to have that knowledge first.

·5· · · · Q.· ·Right.· You do understand that it might put

·6· ·Ms. -- well, I'm sure you talked about historically

·7· ·the strict rules of the Republican party in Douglas

·8· ·County.· Douglas County hasn't -- has had a Republican

·9· ·Sheriff for the last, what, 50, 60 years; is that

10· ·right?

11· · · · A.· ·Yeah, I think Royal McKinster was actually a

12· ·Democrat.· He was the Sheriff when I first got hired.

13· ·And no Republican would come up, and he was pretty --

14· ·at that time, when you were a Democrat, you were

15· ·probably a Republican anyway.

16· · · · Q.· ·That was like 40 years ago?

17· · · · A.· ·Yeah, that was 40-some years ago, but I

18· ·believe he was actually a registered Democrat.· But

19· ·for the most part, you're right.

20· · · · Q.· ·It's fair to say that the Republican

21· ·candidate for Sheriff has a pretty strong chance of

22· ·winning in the general election in Douglas County --

23· · · · A.· ·Oh yeah.

24· · · · Q.· ·-- agree with that?

25· · · · A.· ·Without a doubt, yes.


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·1· ·was no surprise she wanted to run for Sheriff, and I

·2· ·wanted to support her.· That's why I went and told her

·3· ·that this could be -- this -- this was happening, and

·4· ·I just wanted her to be aware of it.

·5· · · · Q.· ·Right.

·6· · · · A.· ·Not to say you've got to be on my side or

·7· ·that side.· Just I'm giving you something.· I hope you

·8· ·take it and -- and do appropriate stuff with it.

·9· · · · Q.· ·And you did that because you recognized that

10· ·it could affect her campaign in the future; is that

11· ·right?

12· · · · A.· ·No, I did that to provide her with

13· ·information that could help her.· I supported her to

14· ·be the Sheriff on the day that I went into her office

15· ·and told her that.· So I was, in essence, I'm giving

16· ·you some intelligence information here.

17· · · · Q.· ·Right.

18· · · · A.· ·Yeah.

19· · · · Q.· ·What did you think that she should have done

20· ·with that intelligence?

21· · · · A.· ·Well, I guess all I can say is what I would

22· ·have done with it is I would have held onto it and

23· ·then, you know, okay, done nothing in any campaign,

24· ·gone static.· That often works very well in Douglas

25· ·County.· And I didn't want her to be shocked at some


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·1· · · · A.· ·Well, an Internal Affairs investigation was

·2· ·immediately started.· Well, I shouldn't say

·3· ·immediately, probably within a short period of time.

·4· ·And then, we reached out to her for an opportunity to

·5· ·be interviewed, and she declined.

·6· · · · Q.· ·If you wouldn't tell her what, specifically,

·7· ·she had done wrong, how was she supposed to have a

·8· ·discussion with you about her termination?

·9· · · · A.· ·You mean at that -- right at that moment?

10· · · · Q.· ·At the May 25th meeting.

11· · · · A.· ·She was very clear of the foundational

12· ·meaning and vision, mission, and values.· It is on

13· ·every evaluation.· The very first one is J, which is

14· ·judgment.· And she could have easily said, where -- if

15· ·I did this, did I, you know, no longer devotion to

16· ·duty?· Did I make a bad judgment?· That document

17· ·initially drives any reader to ask additional

18· ·questions.· And she knew that.· I mean, that

19· ·document -- she had used that document with other

20· ·people before.

21· · · · Q.· ·And she did ask additional questions, right?

22· ·She asked how did I not live up to this values?

23· · · · A.· ·Yes.

24· · · · Q.· ·And you didn't tell her.

25· · · · A.· ·On advice of counsel not to do that.


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·1· ·your knowledge?

·2· · · · A.· ·I cannot answer that.· I don't know if the

·3· ·HR director or the captain did.

·4· · · · Q.· ·Can you please look at your -- the complaint

·5· ·on Page 11.

·6· · · · A.· ·Okay.

·7· · · · Q.· ·The allegation in Paragraph 93 is Spurlock

·8· ·stated to Ms. Kluth --

·9· · · · A.· ·Page 11?

10· · · · Q.· ·Page 11, Paragraph 93.

11· · · · A.· ·Sorry, my apologies.

12· · · · Q.· ·It's no problem.

13· · · · A.· ·Yes, that's true, and I forgot that, yes.

14· · · · Q.· ·Okay.· So you --

15· · · · A.· ·I'm sorry, my apologies.

16· · · · Q.· ·And you told Ms. Kluth that nothing had

17· ·changed since last fall?

18· · · · A.· ·Yes, this was -- this was -- this statement

19· ·was made after she had asked me, can you give me --

20· ·what have I done?· Tell me what I have done.· And I

21· ·said, you know, nothing has changed.· Your behavior

22· ·hasn't changed since last fall.

23· · · · Q.· ·What had happened last fall?

24· · · · A.· ·That's when she was demoted from

25· ·Undersheriff to Captain.


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·1· · · · Q.· ·So that comment kind of harkened back to the

·2· ·comment that she engaged in behavior that led to her

·3· ·demotion.

·4· · · · A.· ·The policy --

·5· · · · · · ·MR. O'CONNELL:· Objection to form.

·6· · · · · · ·THE WITNESS:· The policy violations.

·7· ·BY MR. CRON:

·8· · · · Q.· ·Okay.

·9· · · · A.· ·And basic just behavior, trust.

10· · · · Q.· ·Had she in the time between her demotion and

11· ·her termination, had she continued to instruct

12· ·subordinates to engage in political activity?

13· · · · A.· ·No, but that wasn't the issue.

14· · · · Q.· ·Had she continued to conspire with

15· ·subordinates behind your back?

16· · · · A.· ·No.· She continued to not live up to the

17· ·vision, mission, and values.

18· · · · Q.· ·Turning back to -- are you still on Exhibit

19· ·5?

20· · · · A.· ·Yes, yes.

21· · · · Q.· ·Still have that up?· Had she violated -- so

22· ·she was found sustained five specific policy

23· ·violations on November 16th, 2020?

24· · · · A.· ·Yes.

25· · · · Q.· ·Okay.· Had she continued to violate the


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·1· ·first one, C-101-2-EE, participating in election

·2· ·campaigns?

·3· · · · A.· ·No.

·4· · · · Q.· ·Had she continued to violate Section 2U, on

·5· ·or off-duty conduct?

·6· · · · A.· ·Potentially, yes.

·7· · · · Q.· ·Okay.· We'll get to that.· Had she continued

·8· ·to violate exercise and expression?

·9· · · · A.· ·Yes.

10· · · · Q.· ·Had she continued to violate responsibility

11· ·for conduct.

12· · · · A.· ·The specifics of that policy is has kind of

13· ·driven away, so I would say no, I didn't consider

14· ·that.

15· · · · Q.· ·Had she continued to violate internet,

16· ·social networking, and personal websites policy?

17· · · · A.· ·No.

18· · · · Q.· ·So the second and third policies are the

19· ·ones that she continued to violate in your opinion.

20· · · · A.· ·Well, and I want to make it clear, I'm not

21· ·saying that she continued to do that.· She failed the

22· ·vision, mission, and values which are part of bad

23· ·judgment, trust, unity.

24· · · · · · ·And those are maybe not these specific, but

25· ·they are policies of this office, and that's what was


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 ·1· ·meant when I said, you have not changed your behavior

 ·2· ·since last fall.· You're still violating policies.

 ·3· ·They're just different policies.

 ·4· · · · Q.· ·Did she violate the Law Enforcement Code of

 ·5· ·Ethics after her demotion?

 ·6· · · · A.· ·I suppose you could fine-tooth comb it and

 ·7· ·say yes, but I'm not going to go there.· I'm not going

 ·8· ·to say -- I didn't -- that -- I didn't make a decision

 ·9· ·based upon that.

 10· · · · Q.· ·Okay.

 11· · · · A.· ·Yes.

 12· · · · Q.· ·So I mean, she was demoted for specific

 13· ·actions in November of 2020, right, in that she had

 14· ·planned with a subordinate to get other command staff

 15· ·members to write letters for the DC GOP, right?

 16· ·That's the gist of what she did?

 17· · · · A.· ·Yeah.· She violated policies that were

 18· ·surrounding each one of those five policy behaviors.

 19· · · · Q.· ·And just to be clear, she wasn't engaging in

 20· ·that sort of specific type of conduct after she was

 21· ·demoted to captain, right?

 22· · · · A.· ·Not that specific conduct, no.

 23· · · · Q.· ·All right.· So okay, did you -- so you told

 24· ·Ms. Kluth that nothing had changed since last fall,

 25· ·and that she was not living up to your mission,


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 ·1· ·vision, and values at the May 25th, 2021, meeting,

 ·2· ·right?

 ·3· · · · A.· ·Correct.

 ·4· · · · Q.· ·Did you tell her any other explanation as to

 ·5· ·why she was being terminated?

 ·6· · · · A.· ·I did not.

 ·7· · · · Q.· ·All right.· Let's go to Exhibit 35, which

 ·8· ·are your response to the interrogatories.· Or no, it's

 ·9· ·Exhibit 40, sorry.

 10· · · · A.· ·I think you might have them.· I only have

 11· ·39.· Thank you.

 12· · · · Q.· ·But are you aware of the State statute

 13· ·requiring the Sheriff to inform employees of the

 14· ·reason for a termination?

 15· · · · A.· ·Yes.

 16· · · · Q.· ·Okay.· And you're also aware of the

 17· ·statutory requirement that the Sheriff must give the

 18· ·employee an opportunity to be heard?

 19· · · · A.· ·Yes.

 20· · · · Q.· ·Okay.· And you believe that telling

 21· ·Ms. Kluth that she was not living up to the mission,

 22· ·vision, and values of the office satisfied that

 23· ·requirement?

 24· · · · A.· ·That's a clear satisfaction to that

 25· ·requirement.


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 ·1· · · · A.· ·Yes.· Yeah.· Um-hum.

 ·2· · · · Q.· ·Let's turn to Question 2 of Exhibit 40,

 ·3· ·which is your interrogatory responses.

 ·4· · · · A.· ·Okay.

 ·5· · · · Q.· ·Starting halfway down Page 3, and actually

 ·6· ·the -- Question Number 2 asks you to describe each and

 ·7· ·every material reason you had for terminating

 ·8· ·Plaintiff's employment at the time you made the

 ·9· ·decision; do you see that?

 10· · · · A.· ·Yes.

 11· · · · Q.· ·And your substantive response begins on Page

 12· ·3 and continues through halfway up Page 6; is that

 13· ·correct?

 14· · · · A.· ·Yes.· Yes.

 15· · · · Q.· ·All right.· That first paragraph appears to

 16· ·be -- starting with Subject 2, without waiving the

 17· ·foregoing objection, so --

 18· · · · A.· ·Yes.

 19· · · · Q.· ·-- that paragraph seems to be fairly broad

 20· ·critiques; would you agree with that?

 21· · · · A.· ·I would not.

 22· · · · Q.· ·Okay.· Would you agree that the following

 23· ·paragraphs are -- provide more specific examples of

 24· ·problematic conduct?

 25· · · · A.· ·Yes.· Some of those other paragraphs are


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 ·1· ·specific issues that were in that memo, or -- I'm

 ·2· ·going to call it a memo from Chief Duffey.· I think

 ·3· ·they were excerpts from that into this response.

 ·4· · · · Q.· ·Okay.

 ·5· · · · A.· ·Some of those -- those other paragraphs.

 ·6· · · · Q.· ·But -- so Captain Duffey's memo, which lists

 ·7· ·many issues with Ms. Kluth, was -- many of those

 ·8· ·issues are imported into this interrogatory response;

 ·9· ·is that right?

 10· · · · A.· ·That is correct.

 11· · · · Q.· ·And these are the reasons that you fired

 12· ·Ms. Kluth, right?

 13· · · · A.· ·Yes.

 14· · · · Q.· ·Let's go through some of them.· We see at

 15· ·the bottom of Page 3 --

 16· · · · A.· ·I'm there.

 17· · · · Q.· ·Well, actually, let me ask you a few more

 18· ·questions.· Sorry, I'm jumping all over, but these are

 19· ·the reasons that were important to your decision to

 20· ·fire Ms. Kluth?

 21· · · · A.· ·These the substantive reasons that were

 22· ·shared with me.· They were not inclusive to the

 23· ·reasons why I terminated her.· Again, the Number 1

 24· ·reason that I terminated her was because she no longer

 25· ·fulfilled the vision, mission, and values of my


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 ·1· ·office, which involved very important, particular

 ·2· ·issues, like judgment, and trust, and unity.

 ·3· · · · Q.· ·These reasons, these specific incidents,

 ·4· ·contributed to your assessment that Ms. Kluth no

 ·5· ·longer satisfied the vision, mission, and values of

 ·6· ·your office; is that right?

 ·7· · · · A.· ·Yes.

 ·8· · · · Q.· ·Okay.· In other words, if you hadn't engaged

 ·9· ·in any of these behaviors, then there might not have

 10· ·been a -- as much of a problem with her employment; is

 11· ·that fair?

 12· · · · A.· ·And these and others that I'm aware of -- if

 13· ·she had not engaged in those -- if she had gone to her

 14· ·job and done what she had done when she was an

 15· ·Undersheriff the first three, four, five years as an

 16· ·Undersheriff, she wouldn't -- we wouldn't be here

 17· ·today.

 18· · · · Q.· ·Okay.· This -- this question asks you to

 19· ·describe each and every material reason you had for

 20· ·terminating Plaintiff's employment; do you see that?

 21· · · · A.· ·Yes.

 22· · · · Q.· ·So can we assume that these reasons in here

 23· ·are material reasons?· Are they -- do -- do you know

 24· ·what I mean by material reasons?

 25· · · · A.· ·Like, I -- I used those to solidify my


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 ·1· · · · Q.· ·So she asked for something, and she was

 ·2· ·told, no, and then she did not ask again; is that

 ·3· ·right?

 ·4· · · · A.· ·To the best of my knowledge.· She didn't ask

 ·5· ·me.

 ·6· · · · Q.· ·Is it -- and is there any -- do you have any

 ·7· ·basic reason to think that she asked Captain Duffey

 ·8· ·again?

 ·9· · · · A.· ·I doubt it.

 10· · · · Q.· ·Okay.· Is it problematic for a subordinate

 11· ·to suggest a change or ask for a change?

 12· · · · A.· ·It's problematic that a person who was just

 13· ·demoted from Undersheriff, who denied those types of

 14· ·things to captains for subordinates below her at the

 15· ·time.· Now, she's a captain, and now she's immediately

 16· ·asserting, oh, we need to have this.· That, in my

 17· ·opinion, was, again, conflict to her ability and unity

 18· ·to try to work with the whole department.

 19· · · · Q.· ·Where do you -- where do you see that she

 20· ·asserted that they needed to have it?

 21· · · · A.· ·Or she asked for it.

 22· · · · Q.· ·Okay.

 23· · · · A.· ·Yeah.

 24· · · · Q.· · When did you learn about this issue?

 25· · · · A.· ·I -- I don't -- I don't recall.· Probably,


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 ·1· ·obviously, sometime after it, but I don't know when.

 ·2· · · · Q.· ·Prior to terminating Ms. Kluth?

 ·3· · · · A.· ·Oh, yeah.

 ·4· · · · Q.· ·Is there any investigation into this issue?

 ·5· · · · A.· ·No.

 ·6· · · · Q.· ·Not a -- not even a PCR investigation?

 ·7· · · · A.· ·Nope.

 ·8· · · · Q.· ·Was this issue noted in her Guardian

 ·9· ·Tracker?

 10· · · · A.· ·That, I don't know.· It was noted in the --

 11· ·in the Chief's notes, so other than that, I don't

 12· ·know.

 13· · · · Q.· ·Was it conveyed to Ms. Kluth that it was

 14· ·problematic for her to ask for this change?

 15· · · · A.· ·I don't know.

 16· · · · Q.· ·Was this behavior so egregious that it would

 17· ·demand termination without following the processes of

 18· ·the corrective action policy?

 19· · · · A.· ·It's one of the collective reasons that I

 20· ·made the decision.

 21· · · · Q.· ·Let's go to the -- another -- the next one.

 22· ·Plaintiff objected to Duffey's assignment to serve as

 23· ·a Sheriff's representative for UNFCL and coordinated

 24· ·UNFCL's board meetings.· That's from your

 25· ·interrogatory response; do you see that?


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 ·1· · · · Q.· ·Okay.· So Ms. Kluth was wrong in believing

 ·2· ·that she had a right to be at this meeting.· Is

 ·3· ·that --

 ·4· · · · A.· ·Yes.· This -- this exchange was, you know,

 ·5· ·in hindsight could -- could have been a -- a bigger

 ·6· ·issue at the time because she was insubordinate to her

 ·7· ·boss, and her boss can talk to whoever he wants to,

 ·8· ·whenever he wants to.· And her, again, behavior, her

 ·9· ·demeanor was insubordinate.· In hindsight, probably

 10· ·should have listed that as well, but --

 11· · · · Q.· ·I think you did list that.

 12· · · · A.· ·Okay.· Lot to read here.

 13· · · · Q.· ·Yes.

 14· · · · A.· ·Well, then there you go.· I did.

 15· · · · Q.· ·And in fact, I believe that -- I don't have

 16· ·it here, but I believe that Captain Duffey informed

 17· ·her that he believed that she was being insubordinate.

 18· ·Does that --

 19· · · · A.· ·Yes, he did.· I think it's in the email.

 20· · · · Q.· ·Okay.· And this incident is noted in her

 21· ·Guardian Tracker.· Are you aware of that fact?

 22· · · · A.· ·I am not.

 23· · · · Q.· ·Okay.· You would have any reason to

 24· ·disbelieve me if I told you that, right?

 25· · · · A.· ·I would not.


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 ·1· · · · Q.· ·Okay.· Now, do you have any reason -- can

 ·2· ·you speculate as to why Chief Duffey would have noted

 ·3· ·this incident in the Guardian Tracker?

 ·4· · · · A.· ·Insubordinate is a serious violation for

 ·5· ·supervisors, particularly at a captain's level.· It is

 ·6· ·incredibly serious.

 ·7· · · · Q.· ·This was a big deal.

 ·8· · · · A.· ·This was a big deal.

 ·9· · · · Q.· ·Yeah.· And that's, presumably, why he noted

 10· ·it in his Guardian Tracker?

 11· · · · A.· ·Yes.

 12· · · · Q.· ·Okay.· Now, if he did not note something in

 13· ·his Guardian Tracker, could we presume it was less big

 14· ·of a deal?

 15· · · · A.· ·No.· Again, the -- whether it's in Guardian

 16· ·Tracker or not doesn't dictate its severity.· I think

 17· ·each situation must stand on its own.· And so

 18· ·obviously, some things you might think, well, that's

 19· ·not very serious at all and other things, you might.

 20· ·So I don't want to characterize the Guardian Trackers

 21· ·only serve for serious things because, as we said

 22· ·earlier, it's also for good things.· And those could

 23· ·be considered, you know, good serious things.

 24· · · · Q.· ·Okay.· Did you -- when did you learn about

 25· ·this issue?


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 ·1· · · · A.· ·I learned about it, like, right when it

 ·2· ·happened, I think, or very close proximity to that.                       I

 ·3· ·don't know the date of it that's on the Guardian

 ·4· ·Tracker, but within close proximity of that time.

 ·5· · · · Q.· ·Was there an IA investigation into this

 ·6· ·insubordination?

 ·7· · · · A.· ·I don't believe so, no.

 ·8· · · · Q.· ·Okay.· PCR investigation?

 ·9· · · · A.· ·No.

 10· · · · Q.· ·Okay.· Was Ms. Kluth found to have violated

 11· ·any policies?

 12· · · · A.· ·Well, given that specific time and space,

 13· ·there was no -- there was no investigation or PCR.· So

 14· ·there's no findings.

 15· · · · Q.· ·Okay.· Are you aware of any other Guardian

 16· ·Tracker entries regarding insubordinate by Ms. Kluth?

 17· · · · A.· ·No.

 18· · · · Q.· ·And she was not terminated immediately after

 19· ·this issue, was she?

 20· · · · A.· ·She was not.

 21· · · · Q.· ·Okay.· Okay.· Let's go to -- on Page 4,

 22· ·bottom of Page 4.· Plaintiff using her DCSO Twitter

 23· ·account engaged in a Twitter war with a colleague,

 24· ·Captain Jensen, violating DCSO's policy prohibiting

 25· ·activities that bring discredit to the DCSO.· Do you


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 ·1· ·see that?

 ·2· · · · A.· ·Yes.

 ·3· · · · Q.· ·This is one of the reasons informing the

 ·4· ·decision to terminate Ms. Kluth?

 ·5· · · · A.· ·Yes.

 ·6· · · · Q.· ·Okay.· This -- this correlates to the bottom

 ·7· ·of 2374?

 ·8· · · · A.· ·Yes.

 ·9· · · · Q.· ·What tweets did Plaintiff send out that were

 10· ·objectionable?

 11· · · · A.· ·I don't recall what the tweets were.                   I

 12· ·recall the scenario or scenarios around them that both

 13· ·Jensen and herself were tweeting things back and forth

 14· ·that were not -- one would tweet one thing, and the

 15· ·other would tweet another, and they -- the messages

 16· ·weren't the same, you know, for a social media

 17· ·messaging to go out.· And it became problematic with

 18· ·our social media as, hey, they have Twitter accounts,

 19· ·but they couldn't get together to have the same

 20· ·messaging.· And so it became a -- the -- the -- again,

 21· ·the urban legend, it became a Twitter war between the

 22· ·two of them because to see whoever could tweet the

 23· ·most and whoever could tweet the -- you know,

 24· ·whatever.

 25· · · · · · ·And we had to put a stop to it because it


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 ·1· · · · A.· ·Not to my knowledge.

 ·2· · · · Q.· ·Are there any major incidents that occurred

 ·3· ·while she was Captain of Detentions?

 ·4· · · · A.· ·Not that rises -- not that anything that

 ·5· ·comes to mind.

 ·6· · · · Q.· ·Were there any -- were there any issues with

 ·7· ·her performance as Captain in the Detentions Division

 ·8· ·that contributed to your decision to fire her?

 ·9· · · · A.· ·I don't recall any right now.· She was there

 10· ·for a very short period of time.

 11· · · · Q.· ·Almost three months, right?

 12· · · · A.· ·Yeah.

 13· · · · Q.· ·Did Chief Johnson ever communicate to you

 14· ·any issues with Ms. Kluth's performance as she was

 15· ·employed as the Detentions Captain?

 16· · · · A.· ·It was one thing that escapes me right now.

 17· ·And I apologize for the -- for the long day.· But I

 18· ·think there was one issue that he said -- that he had

 19· ·mentioned.· But I apologize.· I don't recall,

 20· ·specifically, what the details are.

 21· · · · Q.· ·Okay.· Not -- not -- may assume, from

 22· ·your -- it's not a huge incident?

 23· · · · A.· ·No.· It -- it -- it -- it's not anything

 24· ·that's like we've talked before.

 25· · · · Q.· ·Why was Ms. Kluth transferred to Detentions?


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 ·1· · · · A.· ·We, obviously, had to make some changes.

 ·2· ·Captain Jensen was terminated.· And of course, that

 ·3· ·created a -- a number of issues for us.· We made some

 ·4· ·changes at the academy.· And the Arapahoe County

 ·5· ·Sheriff's Office stepped away from the academy which

 ·6· ·left a void of leadership.· So I made the decision to

 ·7· ·move Captain Moore out there, you know.· And then we

 ·8· ·decided to move people -- you know, essentially, we

 ·9· ·ended up having to move captains around because we

 10· ·ended having to promote a captain.· And --

 11· · · · Q.· ·So it's just a domino.

 12· · · · A.· ·So it's just a domino effect of people.

 13· · · · Q.· ·Who -- was her transfer to Detentions a

 14· ·punitive measure?

 15· · · · A.· ·Oh, no.· The Detentions Division is a --

 16· ·it's the largest division.· It has the large budget.

 17· ·It's not punitive by any means.

 18· · · · Q.· ·So to -- it appears the, you know, the

 19· ·issues that Chief Duffey documented, those were not

 20· ·the reasons that she was moved to Detention?

 21· · · · A.· ·No.

 22· · · · Q.· ·You said Captain Jensen had been fired by

 23· ·the Office?

 24· · · · A.· ·Yes.

 25· · · · Q.· ·Okay.· And when was he fired?


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 ·1· · · · Q.· ·No IA investigation?

 ·2· · · · A.· ·No.

 ·3· · · · Q.· ·No PCR investigation?

 ·4· · · · A.· ·No.

 ·5· · · · Q.· ·Do you have any knowledge as to whether

 ·6· ·Chief Johnson expressed his displeasure with Ms. Kluth

 ·7· ·to her?

 ·8· · · · A.· ·I have no knowledge of that, what he said to

 ·9· ·her.

 10· · · · Q.· ·But do you know whether Ms. Kluth had any

 11· ·knowledge as to this performance issue?

 12· · · · A.· ·I don't know what they shared with her.                    I

 13· ·just shared nothing with her.

 14· · · · Q.· ·Is that one of the reasons that informed

 15· ·your termination decision?

 16· · · · A.· ·Yes.

 17· · · · Q.· ·Other than that one incident, was there any

 18· ·other specific incidents that occurred between March

 19· ·1st and May 25th?

 20· · · · A.· ·Not that I call -- recall at this point.

 21· · · · Q.· ·In -- in this last election, you supported

 22· ·Captain Darrin Weekly; is that correct?

 23· · · · A.· ·Eventually, I did.· Yes.· Not right off the

 24· ·bat, no.

 25· · · · Q.· ·Okay.· Well, he announced his candidacy in


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 ·1· ·November of 2021; does that sound right?

 ·2· · · · A.· ·Yeah.· I think it was -- yeah.· Yes.

 ·3· · · · Q.· ·And you attended his kickoff campaign event,

 ·4· ·right?

 ·5· · · · A.· ·Yes, I did.

 ·6· · · · Q.· ·Isn't that supporting him right off the bat?

 ·7· · · · A.· ·Yeah.· I guess I should have said that -- he

 ·8· ·was talking about running well before then.

 ·9· · · · Q.· ·Okay.

 10· · · · A.· ·I never really stood up until that day.

 11· · · · Q.· ·I understand.

 12· · · · A.· ·Yeah.

 13· · · · Q.· ·When -- when was he talking about -- when

 14· ·did you first hear him talking about running for sure?

 15· · · · A.· ·Well, I think after Ms. Kluth was

 16· ·terminated, and I believe there was some discussion

 17· ·about, maybe, one -- one, the commissioner and this

 18· ·other person, they might be dropping out, or

 19· ·something.· I don't recall, but that never occurred.

 20· ·And I know there was some conversation about it.

 21· · · · · · ·Darrin had come to me and said, I'm thinking

 22· ·about running because none of the other candidates

 23· ·qualify for the job.· And so we -- obviously, we had

 24· ·some discussion about that.· And I don't recall any of

 25· ·that -- was a -- but it was, obviously, after


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 ·1· · · · · · · ·CERTIFICATE OF OATH FOR WITNESS

 ·2

 ·3

 ·4· ·STATE OF COLORADO

 ·5· ·COUNTY OF DENVER

 ·6

 ·7· · · · · · ·I, Jessica Wharton, Reporter, certify that

 ·8· ·on August 31, 2022, TONY SPURLOCK appeared before me

 ·9· ·at 9:06 a.m. via video conference; that photo

 10· ·identification was presented and verified via Colorado

 11· ·driver’s license; and that TONY SPURLOCK was duly

 12· ·sworn on August 31, 2022.

 13

 14

 15· · · · · · ·SIGNED this 16th day of September 2022.

 16

 17

 18· · · · · · ·________________________________
 · · · · · · · ·Jessica Wharton
 19

 20

 21

 22

 23

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 ·1· · · · · · · · · ·CERTIFICATE OF REPORTER

 ·2

 ·3· ·STATE OF COLORADO

 ·4· ·COUNTY OF DENVER

 ·5

 ·6· · · · I, Jessica Wharton, Reporter, do hereby certify

 ·7· ·that I was authorized to and did electronically report

 ·8· ·the deposition of TONY SPURLOCK; that TONY SPURLOCK

 ·9· ·was duly sworn on the date indicated; that the

 10· ·questions and answers thereto were reduced to

 11· ·typewriting under my direction; that a review of the

 12· ·transcript was requested; and that the foregoing is a

 13· ·true and accurate electronic recording of the

 14· ·proceedings.

 15· · · · I FURTHER CERTIFY that I am not a relative,

 16· ·employee, or attorney, or counsel of any of the

 17· ·parties, nor am I a relative or employee of any of the

 18· ·parties' attorneys or counsel connected with the

 19· ·action, nor am I financially interested in the action.

 20· · · · DATED this 16th day of September, 2022.

 21

 22
 · · · · · ____________________________
 23· · · · Jessica Wharton, Reporter

 24

 25


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 ·1· · · · · · · ·CERTIFICATE OF TRANSCRIPTIONIST

 ·2

 ·3· · · · I, WENDY K. SAWYER, do hereby certify that I

 ·4· ·transcribed the electronic recording produced by

 ·5· ·Jessica Wharton, Reporter, of the deposition of TONY

 ·6· ·SPURLOCK; and that the foregoing transcript is a true

 ·7· ·transcript of said electronic recording.

 ·8

 ·9· · · · I FURTHER CERTIFY that I am not a relative,

 10· ·employee, attorney, or counsel of any of the parties,

 11· ·nor am I a relative or employee of any of the parties'

 12· ·attorneys or counsel connected with the action, nor am

 13· ·I financially interested in the action.

 14

 15· · · · · · ·DATED this 16th day of September, 2022.

 16

 17

 18· · · · · · ·__________________________________
 · · · · · · · ·WENDY K. SAWYER, CDLT
 19

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